    Case 20-30149        Doc 33       Filed 02/10/20 Entered 02/10/20 10:39:12                   Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

    IN RE:                                                  Chapter 11

    SD-Charlotte, LLC, et al.,1                             Case No. 20-30149

                           Debtors.                         Joint Administration Requested


                 NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

       PLEASE TAKE NOTICE that pursuant to Bankruptcy Rule 9010(b), the undersigned,
A. Cotten Wright of the law firm of Grier Wright Martinez, PA, appearing on behalf Bridge
Funding Group, Inc., in the above-referenced bankruptcy case and related jointly administered
cases, requests that, pursuant to Rules 2002 and 9010 of the Federal Rules of Bankruptcy
Procedure, and Section 1109 of the United States Bankruptcy Code, all documents filed with the
Court and all notices given or filed in the case be served upon:

                 A. Cotten Wright
                 Grier Wright Martinez, PA
                 521 E Morehead Street, Suite 440
                 Charlotte, North Carolina 28202
                 (704) 375-3720 Telephone
                 (704) 332-0215 Facsimile
                 cwright@grierlaw.com

This request is made with respect to all motions, orders, notices, and other pleadings of any nature,
including but not limited to adversary proceedings, filed in this case.

        This Notice of Appearance and Request for Notice shall not be deemed or construed as a
waiver of the rights of Bridge Funding Group, Inc. to assert or exercise any rights, claims, actions,
setoffs, or recoupments to which it is or may be entitled, in law or equity, all of which rights,
claims, actions, defenses, setoffs, and recoupments are expressly reserved.

        This Notice of Appearance and Request for Notice does not give express or implied consent
by the undersigned to accept service of process of any action commenced under Rule 7001 of the
Federal Rules of Bankruptcy Procedure.




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        The Debtors in the following cases have requested that their cases be jointly administered: SD-Charlotte,
LLC, Case No. 20-30149; RTHT Investments, LLC, Case No. 20-30152; SD Restaurant Group, LLC, Case No. 20-
30154; SD-Missouri, LLC, Case No. 20-30150; and Southern Deli Holdings, LLC, Case No. 20-30151.

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       This is the 10th day of February, 2020.

                                            /s/ A. Cotten Wright
                                            A. Cotten Wright (N.C. State Bar No. 28162)
                                            Grier Wright Martinez, PA
                                            521 E Morehead Street, Suite 440
                                            Charlotte, North Carolina 28202
                                            704.375.3720 Telephone
                                            704.332.0215 Fax
                                            cwright@grierlaw.com



                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that copies of the foregoing Notice of Appearance and
Request for Notice were served by electronic notification on those parties registered with the
United States Bankruptcy Court, Western District of North Carolina, electronic case filing system
to receive notices for this case.

       This is the 10th day of February, 2020.

                                            /s/ A. Cotten Wright
                                            A. Cotten Wright (N.C. State Bar No. 28162)
                                            Grier Wright Martinez, PA
                                            521 E Morehead Street, Suite 440
                                            Charlotte, North Carolina 28202




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